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12
13                                 UNITED STATES DISTRICT COURT
14                                NORTHERN DISTRICT OF CALIFORNIA
15
16
     UNITED STATES OF AMERICA,                            Case No.: 3:18-cr-00577-CRB
17
18                   Plaintiff,                           Judge: Hon. Charles Breyer

19          vs.                                           DECLARATION OF NICHOLAS P.
                                                          SILVERMAN IN SUPPORT OF
20
     MICHAEL RICHARD LYNCH and                            DEFENDANT MICHAEL RICHARD
21   STEPHEN KEITH CHAMBERLAIN,                           LYNCH’S MOTION IN LIMINE TO
                                                          EXCLUDE OPINION TESTIMONY OF
22                   Defendants.                          CHRISTOPHER YELLAND
23
                                                          (Lynch MIL No. 3)
24
                                                          Date: February 21, 2024
25                                                        Time: 2:00 pm
26                                                        Court: Courtroom 6 – 17th Floor
                                                          Date Filed: January 17, 2024
27                                                        Trial Date: March 18, 2024
28



                  Defendant Lynch’s Motion In Limine to Exclude Opinion Testimony (Lynch MIL No. 3)
                                                 3:18-cr-00577-CRB
         Case 3:18-cr-00577-CRB Document 294-2 Filed 01/17/24 Page 2 of 3




1                          DECLARATION OF NICHOLAS P. SILVERMAN

2           I, Nicholas P. Silverman, declare as follows:

3           1.      I am an attorney licensed to practice law in the District of Columbia and a partner

4    at the law firm of Steptoe LLP, counsel for the defendant Michael Richard Lynch. I have been

5    admitted pro hac vice to appear in this action.

6           2.      I have knowledge of the facts set forth herein, and if called upon as a witness to

7    testify thereto, I could do so competently under oath.

8           3.      Attached hereto as Exhibit 1 is a true and correct copy of Trial Exhibit 2749 in

9    United States v. Hussain, No. 16-cr-462 (N.D. Cal.). (Bates labeled HP-SEC-02332635).

10          4.      Attached hereto as Exhibit 2 is a true and correct copy of an email from Robert

11   Leach to Randy Luskey regarding Autonomy Quarterly Summaries Update dated December 3,

12   2015. (Bates labeled USAO-EMAIL 011364).

13          5.      Attached hereto as Exhibit 3 is a true and correct copy of an excerpt of a transcript

14   of day 37 testimony in Autonomy Corp. Ltd. v. Lynch, Claim No. HC-2015-001324

15   (High Court of Justice, Chancery Division, London, UK).

16          6.      Attached hereto as Exhibit 4 is a true and correct copy of an email from John

17   Archibald at PwC to Antonia Anderson dated May 10, 2013.

18          7.      Attached hereto as Exhibit 5 is a true and correct copy of an email from

19   Christopher Yelland to Andrew Miskin, Antonia Anderson, and Michael Flint dated June 7, 2013

20   with attachment.

21          8.      Attached hereto as Exhibit 6 is a true and correct copy of an excerpt of a transcript

22   of day 38 testimony in Autonomy Corp. Ltd. v. Lynch, Claim No. HC-2015-001324 (High Court

23   of Justice, Chancery Division, London, UK).

24          9.      Attached hereto as Exhibit 7 is a true and correct copy of an email from

25   Christopher Yelland to PwC employees and Morgan Lewis dated April 3, 2013 (Document ID

26   POS00424252).

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                 Defendant Lynch’s Motion In Limine to Exclude Opinion Testimony (Lynch MIL No. 3)
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         Case 3:18-cr-00577-CRB Document 294-2 Filed 01/17/24 Page 3 of 3




1           10.      Attached hereto as Exhibit 8 is a true and correct copy of an email from Shana

2    Cappell at Morgan Lewis to Christopher Yelland and others dated June 25, 2013. (Bates labeled

3    MLAT_AU 0072854).

4           11.      Attached hereto as Exhibit 9 is a true and correct copy of Trial Exhibit 2445 in

5    United States v. Hussain, No. 16-cr-462 (N.D. Cal.). (Bates labeled HP-SEC-01575611).

6
7           I declare under penalty of perjury that the foregoing is true and correct and that this

8    declaration was executed January 17, 2024 in Washington, D.C.

9                                                                     /s/ Nicholas P. Silverman
                                                                      Nicholas P. Silverman
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                  Defendant Lynch’s Motion In Limine to Exclude Opinion Testimony (Lynch MIL No. 3)
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